     Case 1:15-cr-00020-MW-GRJ            Document 83        Filed 06/01/16      Page 1 of 1


                                                                                           Page 1 of 1


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:15-cr-00020-MP-GRJ-2

JONATHAN SHARRON DUPREE,

       Defendant.

_____________________________/

                                           ORDER

       This cause comes on for consideration upon the Magistrate Judge's Report and

Recommendation dated May 24, 2016. (Doc. 81). The parties have been furnished a copy of the

Report and Recommendation and have been afforded an opportunity to file objections pursuant

to Title 28, United States Code, Section 636(b)(1). The time for filing objections has passed, and

none have been filed. Having considered the Report and Recommendation, I have determined

that the Report and Recommendation should be adopted.

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      The magistrate judge’s Report and Recommendation is adopted and incorporated
               by reference in this order.

       2.      The Court accepts the guilty plea of defendant Jonathan Sharron Dupree,
               withholds formal adjudication at this time, and directs the clerk to set sentencing
               by separate notice.

       DONE AND ORDERED this 1st day of June, 2016


                                                s/Maurice M. Paul
                                               Maurice M. Paul, Senior District Judge
